      Case: 4:20-cv-01973-BYP Doc #: 18 Filed: 07/21/21 1 of 2. PageID #: 116



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


DEREK MORTLAND,                                     :
                                                    :
                Plaintiff,                          :
                                                    :      Case No. 4:20-cv-01973-BYP
        v.                                          :
                                                    :
SIDHU BROTHERS, LLC,                                :
                                                    :      JUDGE BENITA Y. PEARSON
                Defendant.                          :
                                                    :

                          STIPULATION OF DISMISSAL WITH PREJUDICE

        NOW COME Plaintiff, Derek Mortland (“Plaintiff”), and Defendant, Sidhu Brothers, LLC

“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and hereby stipulate to the

dismissal of this case in its entirety and with prejudice. Plaintiff and Defendant further stipulate that all

claims asserted in this case are dismissed in their entirety and with prejudice. Plaintiff and Defendant

further stipulate that they shall bear their own costs, expenses and fees including, but not limited to,

attorneys’ fees. Therefore, the case should be dismissed with prejudice, with each party bearing its own

costs, expenses and fees, including, but not limited to, attorneys’ fees. The Court shall retain jurisdiction

over any claims or disputes arising from or relating to any agreement resolving this matter.

Respectfully submitted,



/s/ Colin G. Meeker                                     /s/ John W. Hofstetter
Colin G. Meeker (0092980)                               James. P. Smith (0073945)
495 Franklin Lakes Drive                                John W. Hofstetter (0087731)
Akron, OH 44319                                         LITTLER MENDELSON, P.C.
Telephone: 330.253.3337                                 Key Tower, 127 Public Square, Suite 1600
Facsimile: 330.253.4131                                 Cleveland, OH 44114
cgm@bmblaw.com                                          Telephone: 216.696.7600
                                                        Facsimile: 216.696.2038
Attorney for Plaintiff                                  jpsmith@littler.com
                                                        jhofstetter@littler.com

                                                        Attorneys for Defendant
      Case: 4:20-cv-01973-BYP Doc #: 18 Filed: 07/21/21 2 of 2. PageID #: 117




                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 19, 2021, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.



                                               /s/ Colin G. Meeker
                                               Colin G. Meeker

                                               Plaintiff’s Counsel




                                                  2
